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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     9/28/2021


In re:
                                                                      03-MD-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                  ORDER

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

This document relates to:

         Ryan et al., v. Iran et al., No. 20-cv-00266

         The plaintiffs in Ryan et al., v. Iran et al., No. 20-cv-00266 (GBD)(SN) (Jan. 10. 2020)

move for the issuance of Letters Rogatory to the Islamic Republic of Iran. ECF No. 7144. That

motion is GRANTED.

         The Court respectfully directs the Clerk of the Court to issue Letters Rogatory directed to

the Islamic Republic of Iran, substantially similar in form to those attached as EXHIBIT A to

the Plaintiffs’ Motion (ECF No. 7144-1), requesting assistance in serving the Complaint in this

matter and the necessary accompanying documents, upon the following defendants: (1) National

Iranian Tanker Corporation; (2) National Iranian Oil Corporation; (3) National Iranian Gas

Corporation; (4) National Iranian Petrochemical Company; (5) Iran Airlines; (6) Hezbollah, (7)

Ayatollah Ali Khamenei, Supreme Leader of Iran; and (8) the Estate of Akbar Hashemi

Rafsanjani, former Chairman of the Expediency Discernment Counsel and former President of

Iran.

         The Letters Rogatory and the accompanying legal documents, including any translations,

related to the Complaint in this case shall be transmitted to the U.S. Department of State for
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delivery to the appropriate judicial authority of the Islamic Republic of Iran, pursuant to

§1608(b)(3)(A).

SO ORDERED.




DATED:         New York, New York
               September 28, 2021




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